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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

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                                                             970 Broad Street, 7th floor               973-645-2700
                                                             Newark, New Jersey 07102


                                                             May 8, 2020

Filed Via ECF
The Honorable Claire C. Cecchi
United States District Judge
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Matthew Brent Goettsche, et al.,
                          Crim. No. 19-877

Your Honor:

      The United States of America, through the undersigned, respectfully
requests that the Court enter the proposed complex case order and
continuance order to extend the Speedy Trial Act deadlines through July 15,
2020.

       As discussed during the Court’s May 6, 2020 status teleconference, the
Government has provided defense counsel with substantial discovery,
including well over 500,000 electronic records and a copy of the BitClub
Network servers that were recovered in the investigation. The Government
anticipates making another production of approximately 200,000 electronic
records in the next few days. In addition, the parties continue to work through
a process designed to reasonably protect the defendants’ attorney-client
privilege (the “Filter Process,”) which the Government does not expect will be
complete until July 15, 2020, at the earliest.

       Under these circumstances, it will not be possible for trial to proceed
prior to July 15, 2020 because the parties will still be completing the exchange
and review of Rule 16 discovery. Accordingly, the Government submits that,
given the complexity of the discovery in this case and the Filter Process, a
continuance of the Speedy Trial deadlines through July 15, 2020 is necessary
and appropriate.
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      Accordingly, the Government respectfully requests that the Court enter
the proposed complex case and continuance order.

                                           Respectfully submitted,

                                           CRAIG CARPENITO
                                           United States Attorney




                                           By: Jamie L. Hoxie
                                           Assistant U.S. Attorney




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